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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                     )
                                              )
              Plaintiff,                      )   ORDER
                                              )
       vs.                                    )
                                              )
Michael John Gietl,                           )   Case No. 4:15-cr-122
                                              )
              Defendant.                      )

       Before the court is defendant’s motion for reconsideration of the undersigned’s order

denying his motion for furlough. There has been no material change of circumstances to warrant

defendant’s temporary release. Moreover, defendant’s continued detention pending sentencing is

mandated by 18 U.S.C. § 3143(a). Defendant’s motion for reconsideration (Docket No. 498) is

therefore DENIED.

       IT IS SO ORDERED.

       Dated this 9th day of January, 2017.

                                                  /s/ Charles S. Miller, Jr.
                                                  Charles S. Miller, Jr., Magistrate Judge
                                                  United States District Court
